                IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF IOWA
                       CEDAR RAPIDS DIVISION
 PARENTS DEFENDING
 EDUCATION,
                     Plaintiff,
 v.
                                                  Case No. ____________
 LINN-MAR COMMUNITY SCHOOL
 DISTRICT; SHANNON BISGARD, in
 his official capacity as Superintendent of
 Linn-Mar Community School District;
 BRITTANIA MOREY, CLARK
 WEAVER, BARRY BUCHHOLZ,
 SONDRA NELSON, MATT
 ROLLINGER, MELISSA WALKER,
 and RACHEL WALL, in their official
 capacities as members of the Linn Marr
 Community School District School
 Board,
                     Defendants.


                         DECLARATION OF PARENT G

       1.    I live within the boundaries of the Linn-Mar Community School District

(“Linn-Mar”) and am the parent of a school-aged child.

       2.    I am over the age of eighteen and under no mental disability or

impairment. I have personal knowledge of the following facts and, if called as a witness,

would competently testify to them.

       3.    I am a member of Parents Defending Education.

       4.    I have a son enrolled at Linn-Mar High School.



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       5.     I have raised my son to believe that biological sex is immutable and does

not change based on someone’s internal feelings. I have taught my son to be respectful

towards others but also to tell the truth and always stand up for his beliefs, even when

those beliefs are unpopular.

       6.     My son believes that people are created either male or female and that a

person cannot “transition” from one sex to another. My son knows and interacts with

transgender students, and he has no ill-will towards them or any other members of the

LGBT community. But my son does not want to be forced to affirm that a biologically

female classmate is actually a male, or vice versa. Nor does he want to be forced to call

someone a “he” or a “she” (or to use some other form of “preferred pronouns”) that

contradict his deeply held beliefs.

       7.     When issues involving gender identity arise (e.g., in class or in school

sponsored activities), my child wants to speak about these topics and state his belief

that biological sex is immutable.

       8.     Under the speech policy, however, my son can be disciplined for a number

of views he wants to express, such as referring to another student according to their

biological sex rather than their gender identity, disagreeing with another student’s

assertion about whether they are male or female, stating that a biological male who

identifies as female should not be allowed to compete in women’s sports, or for

expressing discomfort about sharing bathrooms with teachers or students of the

opposite biological sex.

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       9.     Because of the Policy, my son either remains silent in school environments

when gender identity topics arise or avoids using sex-specific pronouns altogether.

       10.    I want my son to be educated in a challenging environment that involves

the open exchange of ideas and to be free to express his beliefs, even if others disagree

with those beliefs or find them offensive. I do not want my son to be forced to affirm

beliefs about gender identity that are inconsistent with his deeply held convictions.

       11.    I am concerned that my son will be subjected to formal discipline that will

harm his college admission chances and his extracurricular opportunities, unless he

affirms ideas that are inconsistent with his deeply held beliefs. I also worry that being

disciplined for stating his fundamental beliefs will inflict mental and psychological harm

on my child by forcing him to “choose” between expressing the beliefs he has been

taught at home and following the instructions of teachers and other Linn-Mar authority

figures. Further, I know that the process of repeatedly being subjected to discipline for

stating his beliefs will expose my son to reputational harm and personal attacks from

other students and members of the Linn-Mar community.

       12.    I am considering withdrawing my son from Linn-Mar to prevent him from

suffering these harms, and others, from the Policy.

       13.    I am signing this declaration under a pseudonym because I live in Linn-

Mar and, if my participation in this litigation becomes public, I fear reprisal from school

officials, my child’s teachers and fellow students, and members of the broader

community.

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